                                                                                      FILED
                                                                             2025 Jun-18 AM 08:50
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

LAKEISHA EZELL as                           )
Representative of the Estate of             )
Terrence Andrews,                           )
                                            )
      Plaintiff,                            )    Case No.
                                            )    4:20-cv-2058-ACA
v.                                          )
                                            )
JEFFERSON DUNN, et al.,                     )
                                            )
      Defendants.                           )
                                            )


LORI GUY WILLS, as                          )
Administrator of the Estate of Steven       )
Mullins,                                    )
                                            )
      Plaintiff,                            )    Case No.
                                            )    4:21-cv-0264-ACA
v.                                          )
                                            )
JEFFERSON DUNN, et al.,                     )
                                            )
      Defendants.                           )
                                            )


      RESPONSE AND OBJECTION TO ORDER TO SHOW CAUSE


      COME NOW, William R. Lunsford, Matthew B. Reeves, Daniel J. Chism,

William J. Cranford, III, and Kenneth Steely, (collectively the “Respondents”) by



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and through their undersigned counsel, Gregory H. Hawley and Jerome C. Chapman

IV, and object and respond to the Court’s show cause orders [Ezell Doc. 403; Guy

Doc. 387]. The Respondents state as follows:

1.    As an introductory matter, the Respondents state that they sincerely apologize

to the Court regarding the confusion created by circumstances currently before this

Court and the circumstances generally described in the Court’s Show Cause Orders

(Ezell Doc. 403; Guy Doc. 387, collectively, the “Orders”). As evidenced in the

filings before this Court, no Respondent intended in any way to mislead the Court,

to fail to cite the evidentiary support within the evidentiary record before the Court,

or to report incorrectly any set of facts. Furthermore, with the utmost respect for this

Court, the Respondents must object to the “Orders” on due process grounds, as the

Orders (1) do not provide specific notice of the allegedly improper conduct, and, (2)

do not permit sufficient time (after receipt of such notice) to investigate the specific

allegations and prepare a meaningful response by the time scheduled for the hearing,

given the extensive record which is potentially implicated by the language in the

Orders.

2.    The Orders generally appear to reference four discrete issues (or categories of

issues) which will be the subject of the show cause hearing. Due to the manner in

which the Orders generally raise these issues, the Respondents are uncertain as to

the precise problematic aspects of the briefing identified in the Orders. Because of



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this difficulty understanding the issues raised in the Orders, the Respondents cannot

adequately prepare a response to the allegations and therefore must take the position

that the Orders are defective and improper as a predicate to the imposition of Rule

11 sanctions, inherent authority sanctions, and/or sanctions under Local Rule

83.1(f)/Alabama Rule of Professional Conduct 3.3.

3.    The Respondents closely reviewed the language of the Court’s Orders and

made a good-faith effort to interpret same. The undersigned counsel and a small team

of Butler Snow LLP lawyers not involved in the underlying litigation also conducted

an independent review of the Orders and the submissions at issue. While the Orders

reference portions of the briefs which contain statements of fact and involve expert

reports or expert testimony, the Orders neither identify the specific statements nor

the expert(s) in question. The Orders appear to identify the following four categories

of issues:

      a.     “The court finds that the Administrative Supervisors’ narratives
             of “undisputed facts” include statements that cite only to the
             “Factual Background” section of an expert’s reports, but the
             “Factual Background” in that expert’s reports cite to materials
             that the expert did not review.”

      b.     “The court also finds that at least one expert report refers only to
             select portions of a document it cites and flatly ignores portions
             of the same document that substantially undermine or contradict
             the expert’s opinion. Moreover, that specific document is
             otherwise included in the Administrative Supervisors’
             evidentiary submission, which suggests that the decision to cite
             to the expert report and not the document itself was an intentional
             decision made for the purpose of misleading the court.”

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      c.     “In addition, the court identified at least one “undisputed fact” in
             the Administrative Supervisors’ brief for which the court cannot
             find any basis in their evidentiary submission despite its best
             efforts.”

      d.     “The Administrative Supervisors filed their brief in support of
             summary judgment before the deposition of one of its experts. At
             that deposition, the expert repeatedly and unequivocally stated
             that the basis for one of his opinions was a fact that is—
             indisputably—incorrect.”

[Ezell Doc. 403; Guy Doc. 387].

4.    As detailed in the Declaration of William J. Cranford, III, attached hereto and

more extensively discussed below, the Respondents have discovered a broader issue

in their briefs and hereby disclose same to the Court and opposing counsel. For the

same reasons which warrant the foregoing objection, the Respondents are not certain

as to whether the issue they now disclose is partially or wholly responsive to the

issues alluded to in the Orders.

              REGARDING THE IMPOSITION OF RULE 11 SANCTIONS

5.    Without waiving any objections, the Respondents infer from the Orders that

the Court intends to rely upon Rule 11(b)(3). This portion of Rule 11 reads as

follows:

      (b) Representations to the Court. By presenting to the court a pleading,
      written motion, or other paper--whether by signing, filing, submitting,
      or later advocating it--an attorney or unrepresented party certifies that
      to the best of the person's knowledge, information, and belief, formed
      after an inquiry reasonable under the circumstances:
      […]

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      (3) the factual contentions have evidentiary support or, if
      specifically so identified, will likely have evidentiary support after a
      reasonable opportunity for further investigation or discovery […].

Fed. R. Civ. P. 11 [emphasis supplied].

6.    “Due process requires notice and an opportunity to respond if Rule 11

sanctions are imposed.” Attwood v. Singletary, 105 F.3d 610, 613 (11th Cir. 1997)

(citing Didie v. Howes, 988 F.2d 1097, 1105 n. 8 (11th Cir. 1993)). Due process

requires, on a fundamental level, that the notice be “reasonably calculated, under all

the circumstances, to apprise interested parties of the pendency of the action and

afford them an opportunity to present their objections” and, in this context,“[d]ue

process requires that the attorney (or party where applicable) has fair notice of the

possible imposition of Rule 11 sanctions and of the reasons for their imposition.”

Donaldson v. Clark, 819 F.2d 1551, 1559 (11th Cir. 1987) (quoting Mullane v.

Central Hanover Trust Co., 339 U.S. 306, 314 (1950)) [emphasis supplied].

7.    In Donaldson, the Eleventh Circuit also underscored the importance and

benefit of early and fair notice in the case of an alleged Rule 11 violation in the

interest of both substantive and procedural concerns:

      Early notice can deter continuing violations, thereby saving monetary
      and judicial resources. […] The Advisory Committee Note instructs a
      party seeking sanctions to “give notice to the court and the offending
      party promptly upon discovering a basis for doing so;” a failure to do
      so may result in a corresponding reduction in the amount of any costs
      and attorneys' fees awarded.




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      Notice can come from the party seeking sanctions, or from the court, or
      from both. We see no basis for requiring that in all instances notice be
      in writing and with the formality of pleadings. But to avoid
      misunderstanding and permit appellate review, the notice given, or
      evidence of the giving of notice, should be made a part of the record.

      The accused must be given an opportunity to respond, orally or in
      writing as may be appropriate, to the invocation of Rule 11 and to
      justify his or her actions.

Donaldson, 819 F.2d 1551, 1560 (11th Cir. 1987) [internal citations omitted].

8.    In the penultimate paragraph of the Orders, they clearly enumerate the

conclusion that the Respondents made “misrepresentations” (i.e. written statements

made for the purpose of deception) to the Court. As discussed further below, the

Respondents urge the Court to consider the facts enumerated in the most recent

filings to the Court. To the extent that Orders reflect a final decision on whether

actual “misrepresentations” occurred, the Respondents had neither notice nor an

opportunity to be heard before that finding.

9.    In response to the Court’s Orders, the Respondents conducted a

comprehensive review of the factual citations in the motions for summary judgment

filed in the Guy and Ezell matters. The Respondents discovered mistakes in their

briefs including citations that have incorrect page ranges, citations made to an expert

report which should have instead cited to the underlying record, and inaccurate

citations. The Respondents believe, but are not certain, that some of the Court’s

concerns may arise from this disconnect.



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10.   By way of explanation and not excuse, unexpected circumstances on the eve

of filing these motions caused the Respondents to make substantial revisions to the

briefs and the evidentiary submission which had been all-but-ready to file. The

Respondents overlooked the extent to which these contemporaneous, emergency

revisions introduced a significant divergence in the briefs and evidentiary

submissions. As a result, briefs – most particularly at the citations supporting the

statements of facts – were not of “final draft” quality and were well beneath the

standard of work product the Respondents always strive to deliver. Attached to this

Response are the Declarations of William J. Cranford, III, (hereinafter “Cranford”),

the attorney among the Respondents principally responsible for the revision process

discussed above, explaining in greater detail what led to this error.

11.   As set forth by Cranford, the bulk of the drafting of these briefs occurred while

a motion for leave to file under seal remained pending before the Court. Leave was

denied the same day these briefs were due, January 27, 2025, at approximately 2:00

pm.

12.   The Respondents mistakenly (and regrettably) assumed that the Court would

grant leave to file the evidentiary submissions under seal and, therefore, structured

both the briefs and evidentiary submission in anticipation of that result. The

evidentiary submission which the Respondents planned to file under seal was “joint”

in that it would have supported dispositive briefing by the Respondents as well as



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the codefendants represented by Capell & Howard, P.C. When leave was denied, the

Respondents were precluded from using the evidentiary submission as then-

assembled, because they were compelled to remove large portions of the evidentiary

submission to protect sensitive information from publication. Thus, the Respondents

commenced a fire-drill effort to contemporaneously create an evidentiary

submission acceptable for public filing and to reconfigure brief citations to that still-

developing record. Amid that effort, and unbeknownst to the Respondents, a

nationwide outage of the CM/ECF system occurred which itself delayed the filing

of the reworked evidentiary record and the linking of these documents. The resulting

work product was sub-par, to say the least, but not intentionally misleading.

13.   The Respondents apologize to the Court and opposing counsel alike for

creating this confusion but must make clear that this error constitutes an innocent

mistake made under difficult and unanticipated circumstances. As Cranford

explains, this frantic effort resulted in decisions that, absent context, might appear

arbitrary. As an example, Cranford determined that publicly filing a 954-page Inmate

File was an unacceptable liability under these emergent circumstances, and, as an

alternative, he modified the briefs to cite to an expert’s summary of said Inmate File.

While hindsight proves this was an ineffective means of substantiating the factual

proposition, the Respondents submit that under the totality of the circumstances




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existing at the time Cranford made this decision, it should be interpreted as problem

solving that was guided by good intentions.

14.   In the time since the Court entered the Orders, the Respondents (working

together with a larger team from Butler Snow LLP) have begun preparing amended

briefs which correct the discovered issues. The Respondents plan to file motions for

leave to file those amended briefs and will include red-lined versions showing all

changes made.

15.   The Respondents respectfully submit that the proffered explanation speaks to

haste, inattention, emergency circumstances, and the peril of assumption. The

Respondents respectfully submit that the emergency effort which seems to have

caused these issues was, at root, an effort by Respondents to comply with unusual

circumstances: the summary judgment deadline, the requirement to file evidentiary

submissions in advance, the order denying leave to file a sealed evidentiary

submission and a nationwide outage of the Court’s electronic filing system.

16.   Apart from the Respondents’ objection to the Orders’ notice and the

Respondents’ corrective action, the Respondents respectfully submit that the Rule

11 sanctions should not be imposed for a factual contention that has support in the

record: “In order for a factual contention to be sanctionable under Rule 11, it must

be utterly lacking in support.” StreetEasy, Inc. v. Chertok, 752 F.3d 298, 308 (2d Cir.

2014).



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17.   The Respondents concede that the briefs at issue contain citation errors and

inaccuracies that they inadvertently introduced. The Respondents apologize for these

errors and take complete responsibility. The Respondents submit that, under the

Eleventh Circuit’s Rule 11 frivolity analysis, their errors do not rise to the level of

subjective bad faith which would support the issuance of sanctions in a sua sponte

Rule 11 review:

      Rule 11 imposes an affirmative duty on an attorney to conduct a
      reasonable inquiry into both the facts and the law before filing a
      pleading or motion. When deciding whether to impose sanctions under
      Rule 11, a district court must conduct a two-step inquiry, determining
      “(1) whether the party's claims are objectively frivolous; and (2)
      whether the person who signed the pleadings should have been aware
      that they were frivolous.” A factual claim is frivolous when it has no
      reasonable factual basis. A legal claim is frivolous when it has no
      reasonable chance of succeeding. When the attorney's evidence is
      “merely weak,” but supports a claim under existing law after a
      reasonable inquiry, sanctions are unwarranted. Sanctions are warranted,
      however, when the attorney exhibits “a deliberate indifference to
      obvious facts.”

      If the attorney failed to make a reasonable inquiry, then “the court must
      impose sanctions despite the attorney's good faith belief that the claims
      were sound.” The reasonableness of the inquiry depends on the
      circumstances of the case.

Gulisano v. Burlington, Inc., 34 F.4th 935, 942 (11th Cir. 2022) (internally citing

Bus. Guides, Inc. v. Chromatic Commc'ns Enters., Inc., 498 U.S. 533, 551 (1991);

Mike Ousley Prods., Inc. v. WJBF-TV, 952 F.2d 380, 382 (11th Cir. 1992); Baker v.

Alderman, 158 F.3d 516, 524 (11th Cir. 1998); and, Worldwide Primates, Inc. v.

McGreal, 87 F.3d 1252, 1254 (11th Cir. 1996)) [internal citations extracted].

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18.   The Respondents respectfully submit that because this Rule 11 review was

commenced sua sponte, a higher standard of culpability is required if sanctions are

to be imposed:

      Court-initiated sanctions under Rule 11(c)(1)(B) do not involve the
      “safe harbor” provision contained in Rule 11(c)(1)(A). That provision
      ordinarily gives a lawyer or litigant 21 days within which to correct or
      withdraw the challenged submission.
      Because “no ‘safe harbor’ opportunity exists to withdraw or correct a
      submission challenged in a court-initiated proceeding,” Rule 11's
      drafters commented on Rule 11(c)(1)(B)'s compensating protections:
      The initiating court must employ (1) a “show-cause” order to provide
      notice and an opportunity to be heard; and (2) a higher standard (“akin
      to contempt”) than in the case of party-initiated sanctions.
      Other circuits apply the “akin to contempt” rationale to court-initiated,
      Rule 11 sanctions. Sua sponte Rule 11 sanctions, then, must be
      reviewed with “particular stringency.”

Kaplan v. DaimlerChrysler, A.G., 331 F.3d 1251, 1255 (11th Cir. 2003) (internally

citing In re Pennie & Edmonds LLP, 323 F.3d 86, 89 (2d Cir. 2003); Hunter v.

Earthgrains Co. Bakery, 281 F.3d 144, 151 (4th Cir. 2002); Barber v. Miller, 146

F.3d 707, 711 (9th Cir. 1998); MHC Inv. Co. v. Racom Corp., 323 F.3d 620, 623 (8th

Cir. 2003); and, United National Insurance Co. v. R & D Latex Corp., 242 F.3d 1102,

1115 (9th Cir. 2001)) [internal citations extracted].

19.   Insofar as the Respondents’ concede mistakes, and are in the process of

completing comprehensive revisions which they will request leave to file, the

Respondents would urge the Court to apply the reasoning of the Fourth Circuit in

this context: “Rule 11 punishes the filing of a ‘pleading, motion, or other paper’ that

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a reasonable attorney would recognize as frivolous. It does not extend to isolated

factual errors, committed in good faith, so long as the pleading as a whole remains

‘well grounded in fact’”. Forrest Creek Assocs., Ltd. v. McLean Sav. & Loan Ass'n,

831 F.2d 1238, 1245 (4th Cir. 1987) (internally citing Stevens v. Lawyers Mutual

Liability Insurance Co. of North Carolina, 789 F.2d 1056, 1060 (4th Cir. 1986); Chu

by Chu v. Griffith, 771 F.2d 79, 81 (4th Cir.1985)) [internal citations extracted].

20.   Given the Respondents’ objections and due process concerns, given the

conceded mistakes and proffered explanation of the circumstances which led to

same, and given that Respondents have provided the Court with substantial authority

tending to show that this sort of conduct should not warrant Rule 11 sanctions, the

Respondents respectfully submit that no sanctions should be imposed pursuant to

Rule 11.

       REGARDING THE IMPOSITION OF INHERENT AUTHORITY SANCTIONS

21.   The Orders also reference the Court’s inherent authority to sanction as a

vehicle for punishment. The inherent authority or inherent power to sanction requires

a finding of bad faith on the part of the offending party. The Eleventh Circuit

summarized the inherent power, its purpose, and the circumstances under which

same should be used in 2017:

      Courts have the inherent power to police those appearing before them.
      A court's inherent power is “governed not by rule or statute but by the
      control necessarily vested in courts to manage their own affairs so as to
      achieve the orderly and expeditious disposition of cases.” This power

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      “must be exercised with restraint and discretion” and used “to fashion
      an appropriate sanction for conduct which abuses the judicial process.”
      A court may exercise this power “to sanction the willful disobedience
      of a court order, and to sanction a party who has acted in bad faith,
      vexatiously, wantonly, or for oppressive reasons.” The dual purpose of
      this power is to vindicate judicial authority without resorting to a
      contempt of court sanction and to make the prevailing party whole. The
      key to unlocking a court's inherent power is a finding of bad faith.

Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1223 (11th Cir.

2017) (internally citing Chambers v. NASCO, Inc., 501 U.S. 32, 46 (1991); Link v.

Wabash R.R., 370 U.S. 626, 630–31, (1962); and, Marx v. Gen. Revenue Corp., 568

U.S. 371 (2013)) [internal citations extracted].

22.   The due process concern remains the same: the Respondents are unclear as to

the precise conduct subject of the Orders and therefore cannot prepare specific

response and defenses. And to the extent that complained of conduct arises from the

citations errors identified above, this simply does not amount to the “bad faith”

required to warrant sanction.

23.   As discussed above, the Respondents have identified significant issues in

these briefs and have undertaken to correct all of them. As set forth by Cranford, the

issues which the Respondents seek to amend (and possibly all issues raised by the

Court) are purely the product of hasty revision under unexpected and challenging

circumstances and in no way reflect abuse of the judicial process or bad faith.

24.   As the evidentiary submissions in these matters are extensive, the emergency

revision was an enormous undertaking. The difficulties presented by completing and

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then filing the emergency revisions during a nationwide CM/ECF outage of this

record is reflected in the filings made by the codefendants, which were impacted by

near identical circumstances and were delayed until after the Court’s deadline as a

result.

25.       The Respondents respectfully submit that neither their own errors, nor any

similar errors in briefs filed by other parties, are properly interpreted as the product

of bad faith, wantonness, or willful disregard for the Court. Where a District Court

sitting within the Eleventh Circuit considers imposing inherent authority sanctions,

the existence of similar conduct by other parties should be considered. Purchasing

Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1225 (11th Cir. 2017) (“In

assessing whether a party should be sanctioned, a court examines the wrongdoing in

the context of the case, including the culpability of other parties.”).

26.       Where the Seventh Circuit had an occasion to discuss the analysis of sanctions

in the context of all parties behavior it found:

          These requests seem to be based on Vital’s claim that Moore and his
          counsel misrepresented the factual record. After reading the parties'
          briefs and scouring the record, we find that each side took liberties with
          the record throughout its brief. Similarly, each side has incorrectly
          stated, interpreted, or applied the relevant law at some point in its brief.
          Put simply, neither side can claim the high ground. Neither side,
          however, has misconstrued the record or misstated the law to a degree
          that compels us to issue sanctions.

Moore v. Vital Prods., Inc., 641 F.3d 253, 259 (7th Cir. 2011). See also Dorr-Oliver

Inc. v. Fluid-Quip, Inc., 834 F. Supp. 1008, 1017 (N.D. Ill. 1993) (“Imposing Rule

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11 sanctions on defendants would be inappropriate here, since both sides have

arguably offended the rule.”)

27.    The Respondents submit that the Court should consider the Respondents’

conduct in the context of all parties’ conduct, including the analysis of response

briefing discussed in Respondents’ Reply Briefs (Ezell Doc. 392; Guy Doc. 376).

28.    As a final point on inherent authority sanctions: where bad faith is not found

and formal sanctions are not warranted, the party defending against the imposition

of inherent authority sanctions is nevertheless “punished” by the associated

reputational damage, financial impact, and time expended. Purchasing Power, LLC

v. Bluestem Brands, Inc., 851 F.3d 1218, 1228 (11th Cir. 2017) (“No party in this

case acted with bad intentions, but the result was a colossal waste of time and effort.

We trust that the damage done to the parties' credibility, finances, and time is enough

of a sanction to curb their conduct and to serve as a warning to future diversity

jurisdiction litigants.”)

29.    The Respondents are embarrassed to have created this confusion, are

mortified to learn that the Court thought there had been a misrepresentation, and

have already affirmatively commenced an extensive and exhaustive effort to correct

these briefs.

30.    The Respondents respectfully submit that investigation and corrective action

prompted by the Orders has prompted reflection on how these events unfolded, and



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what safeguards can be implemented by the Respondents’ practice to ensure similar

issues do not arise in the future.

31.      In light of the proffered explanation and in view of the totality of the

circumstances, the Respondents respectfully submit that the analysis in Purchasing

Power leads to the same result in this case: “Courts considering whether to impose

sanctions under their inherent power should look for disobedience and be guided by

the purpose of vindicating judicial authority. None of these concerns are present

here.” Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.3d 1218, 1225 (11th

Cir. 2017).

32.      To the extent the Court is inclined to utilize its inherent powers to make the

plaintiffs whole, the Respondents respectfully submit that it would be appropriate to

authorize plaintiffs to file amended oppositions to the amended briefs, so that the

Respondents’ earlier errors cannot impact the quality of plaintiffs’ oppositions.

   REGARDING THE IMPOSITION OF SANCTIONS UNDER LOCAL RULE 83.1(f),
  ALABAMA RULE OF PROFESSIONAL CONDUCT 3.3, AND ABA MODEL RULE 3.3

33.      The final vehicles for sanctions contemplated by the Court are Alabama Rule

of Professional Conduct 3.3 and Local Rule 83.1(f), which incorporates the Alabama

Rules of Professional Conduct together with the American Bar Association’s Model

Rules.

34.      The Respondents again object to the failure of Court’s Orders to specifically

identify the conduct which the Court believes may violate these rules, and the

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Respondents state that they cannot prepare a full response to the accusations without

more specific notice. The Respondents note that Local Rule 83.1, at subsections (g)

and (h), outlines the procedure under which disciplinary referrals are evaluated by

the Grievance Committee, and that said procedure contains strong due process

protections for the accused (including the availability of hearings, limited discovery,

and some degree of confidentiality). The Respondents respectfully suggest that due

to the notice issues previously discussed, any sanctions entered under the Court’s

own authority under Local Rule 83.1(f) would be contrary to the clear intent of the

Local Rules to afford due process rights to the accused in disciplinary matters.

35.   Alabama Rule of Professional Conduct 3.3 relates to candor towards the

tribunal, and commands in relevant part as follows:

      (a) A lawyer shall not knowingly: (1) Make a false statement of material
      fact or law to a tribunal; […] or (3) Offer evidence that the lawyer
      knows to be false. If a lawyer has offered material evidence and comes
      to know of its falsity, the lawyer shall take reasonable remedial
      measures. (b) The duties stated in paragraph (a) continue to the
      conclusion of the proceeding, and apply even if compliance requires
      disclosure of information otherwise protected by Rule 1.6. […]

Ala. R. Prof. Cond. 3.3.

Similarly, the American Bar Association Model Rule 3.3 commands in relevant part

as follows:

      (a) A lawyer shall not knowingly: (1) make a false statement of fact or
      law to a tribunal or fail to correct a false statement of material fact or
      law previously made to the tribunal by the lawyer; […] (3) offer
      evidence that the lawyer knows to be false. If a lawyer, the lawyer’s

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      client, or a witness called by the lawyer, has offered material evidence
      and the lawyer comes to know of its falsity, the lawyer shall take
      reasonable remedial measures, including, if necessary, disclosure to the
      tribunal. […] (c) The duties stated in paragraphs (a) and (b) continue to
      the conclusion of the proceeding, and apply even if compliance requires
      disclosure of information otherwise protected by Rule 1.6. […]

ABA Model R. Prof. Cond. 3.3

36.   The Respondents submit that each of these rules is inapplicable to the instant

circumstances.

37.   While the Court noted that one unidentified statement of fact did not appear

to be supported by any part of the evidentiary submission, it does not appear from

any reading of the Court’s show cause order that the Court believed that a false

statement of fact or law had been offered. As opposed to false statements of law or

fact, it seems that the Court may have interpreted unorthodox citation patterns which

resulted from an emergency revision as the intentional cherry-picking of evidentiary

sources. The Court may have inferred that citation to an expert’s summary of the

factual background (as opposed to the evidence the expert reviewed to develop

same) was a scheme by which the Respondents hoped to gain a strategic advantage.

The Respondents state that there was no such strategy and that issue resulted from

Cranford being unable to publicly file the 954-page Inmate File which would have

otherwise supported those propositions.

38.   For the sake of argument, the Respondents submit that the scheme which the

Court envisions would provide no strategic advantage whatsoever. Though it could

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have the effect of concealing a “bad fact” from the Court, it does nothing at all to

conceal the bad fact from the movant’s adversary, who will assuredly raise that fact

in opposition to the motion. A movant employing that scheme forfeits any ability to

“draw the sting” of a bad fact and, instead, amplifies the utility of that bad fact by

allowing the adversary to control the entire context for same.

39.     The Respondents do not believe that these rules are applicable as, no false

statement of fact or law is involved, and as these issues are attributable instead to

citation errors which, in the absence of context, were so confounding that an

inference of nefarious activity arose.

40.   Moreover, the citation inconsistency in the original briefs was accidentally

introduced in the frantic effort to rework a large and complicated filing. Where the

Respondents offered briefs with deficient citations, they did so unknowingly. When

the Orders were filed and the error was apprehended, the Respondents immediately

undertook corrective action.

41.   Thus, the Respondents submit that these rules are not applicable as the citation

issue in the original briefs was not known to the Respondents at the time of filing

and the “mens rea” component of the behavior proscribed by each of these rules is

not present. Moreover, the Respondents have not knowingly advocated for briefs

with incorrect citations since learning of the issue and will instead seek leave to cure

the deficiency with amended pleadings.



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42.    Lastly, the instant response and objection constitute the Respondents’

compliance with the spirit of these rules, insofar as the Respondents are affirmatively

disclosing independently-discovered issues regarding deficiencies in their own

pleadings not previously raised by the Court.

43.   For these reasons, the Respondents submit that no sanction under Local Rule

83.1/Alabama Rule of Professional Conduct 3.3 is warranted.

                                    CONCLUSION

      The Respondents, under a misguided assumption that this Court would grant

their motion for leave to file an evidentiary submission under seal, were comfortably

prepared to file briefs and an evidentiary submission as of January 27, 2025. When

leave was denied at 2:00 pm, the Respondents were required to immediately begin

reworking the briefs and evidentiary submission to ensure that the materials were

both appropriate for public filing and timely filed. The hours of delay in filing of

the evidentiary submission due to an IT outage beyond anyone’s control further

exacerbated the already challenging circumstances. In the rush to meet the pending

deadline, the Respondents unknowingly created a filing so confusing in its reworked

form as to give an appearance of nefarious intent. This is an embarrassing mistake.

The Respondents, however, assure the Court that this amounts to nothing more than

a huge mistake, and therefore respectfully submit that sanctions should not be

imposed.



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      WHEREFORE, PREMISES CONSIDERED, the Respondents, William R.

Lunsford, Matthew B. Reeves, Daniel J. Chism, William J. Cranford, III, and

Kenneth Steely, respectfully object to the Court’s orders to show cause. Without

waiving said objection, the Respondents respectfully urge the Court not to impose

any sanctions, in light of the explanation and corrective actions outlined in this

response.

                               Respectfully submitted,

                               /s/ Gregory H. Hawley
                               GREGORY H. HAWLEY (ASB-8552-L69G)
                               JEROME C. CHAPMAN IV (ASB-2364-O42H)
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       I hereby certify that on June 18, 2025 I have electronically filed the foregoing
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